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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG              *       MDL NO. 2179
“DEEPWATER HORIZON” IN THE                   *
GULF OF MEXICO, on APRIL 20, 2010            *
                                             *       SECTION J
                                             *
THIS DOCUMENT RELATES TO:                    *       JUDGE BARBIER
                                             *
2:11-cv-00263                                *       MAG. JUDGE SHUSHAN
                                             *
                                        ORDER

        After considering Defendant M-I L.L.C. Motion to Dismiss, the Court DENIES the

motion. It is therefore;

        ORDERED that Defendant M-I L.L.C.’s Motion to Dismiss is DENIED.



Signed this the ________ day of ___________ 2011

                                                     _____________________________
                                                     JUDGE PRESIDING
